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Attorneys for Plaintiffs

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA                )
MAPLEY,                                     )   Case No. CV-20-52-BLG-SPW
                                            )
                   Plaintiffs,              )    PLAINTIFFS’ STATEMENT
      vs.                                   )     OF UNDISPUTED FACT IN
                                            )       SUPPORT OF THEIR
WATCHTOWER BIBLE AND TRACT                  )      MOTION FOR PARTIAL
SOCIETY OF NEW YORK, INC., and              )    SUMMARY JUDGMENT RE:
                                                   HARDIN ELDERS ARE
WATCH TOWER BIBLE AND TRACT                 )
                                                    AGENTS OF A JOINT
SOCIETY OF PENNSYLVANIA.,                   )
                                                  ENTERPRISE BETWEEN
                                            )        WTNY AND WTPA
                   Defendants,              )
                                            )

      Pursuant to L.R. 56.1(a), Plaintiffs submit the following Statement of

Undisputed Facts in support of their Motion for Partial Summary Judgment re:

Hardin Elders are Agents of a Joint Enterprise between WTNY and WTPA.
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      1. At all times relevant WTNY and WTPA shared a common purpose and
         had fully aligned interests of facilitating the world-wide preaching of the
         word of God and printing, publishing, and disseminating Bibles and
         Bible based materials.

            a. WTNY and WTPA’s charters are similar and were set up to support

               the same goal of promoting Bible education throughout the world.

               WTNY and WTPA assist each other in accomplishing this goal: “The

               charters of these other corporations are similar to that of the

               Pennsylvania corporation.” Ex. A., 1970 Yearbook of Jehovah’s

               Witnesses 38 (1970); Ex. B., WTPA 30(b)(6) Devine Dep., 37:15 –

               39:9; see also Ex. C, WTNY Corp. Charter at 6(a); see also Ex. D,

               WTPA Corp. Charter.

            b. WTNY and WTPA work together and cooperate fully in order to

               accomplish their common purpose. Ex. E, Branch Organization

               Manual 1-4, ¶ 34 (1977); see also Ex. F, WTNY Ans. to Int. No. 15;

               see also Ex. A, 1970 Yearbook of Jehovah’s Witnesses 38 (1970); see

               also Ex. G, 1980 Yearbook of Jehovah’s Witnesses 257 (1980); see

               also Ex. B, WTPA 30(b)(6) Devine Dep., 37:15 – 39:9; see also Ex.

               H, Organized to Accomplish Our Ministry (1989) at 26-27.

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  Plaintiffs’ Statement of Undisputed Facts in Support of Their Motion for Partial Summary Judgment re:
                  Hardin Elders are Agents of a Joint Enterprise Between WTNY and WTPA
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      2. At all times relevant WTNY and WTPA were managed, directed, and
         operated by the same men and there is no way to distinguish who they
         were ever acting on behalf of at any given time.

           a. During the period 1973 to 1992 the same group of men who were on

               the Organization’s Governing Body also managed and directed

               WTNY and WTPA. Ex. I, 1973-1992 Summary and Comparison of

               WTPA and WTNY Corporate Officers and Governing Body Members

               (as identified in Def. WTPA’s 2d Supp. Resps. To Plfs. 2d Set of

               Jurisdictional Disco., Interrog. Nos. 20-21, 23; Def. WTNY’s 3d

               Supp. Resps. To Plfs.’ 1st Set of Jurisdictional Disco., Interrog. Nos.

               2-4).

           b. There is no way to determine which entity these men were acting on

               behalf of when advancing the interests of their respective corporations

               and the interests of the Jehovah’s Witnesses’ Organization. Ex. J,

               WTNY Ans. to Int. No. 23 and WTPA Ans. Int. No. 16.

      3. At all times relevant WTNY and WTPA were managed, directed, and
         operated from the same offices.

           a. WTPA did not have its own offices but used WTNY’s offices at the

               Organization’s headquarters and did so without any written

               agreement. Ex. K, Rule 30(b)(6) WTPA Moreno Dep., 67:6-72:21.

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  Plaintiffs’ Statement of Undisputed Facts in Support of Their Motion for Partial Summary Judgment re:
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 4. At all times relevant WTNY and WTPA shared the same legal
    department and lawyers.

         a. The Organization’s Legal Department (a.k.a. the Watchtower Legal

             Department) is part of, and operates through, WTNY. Ex. L, Moreno

             Dep., 38:14 - 40:21, Lopez v. Does.; Ex. M, Shuster Dep., 22:13-23:8.

         b. WTNY’s “Watchtower Legal Department’s clients include various

             corporations of Jehovah’s Witnesses in the United States.” Ex. N,

             Moreno Dec. at ¶ 2, Charissa W. & Nicole D. v. WTNY, et al..

         c. Phillip Brumley is a lawyer who oversees the Watchtower Legal

             Department and serves as general counsel for both WTNY and

             WTPA. Ex. O, Brumley Aff. at ¶ 3, Does I–IV v. WTNY; Ex. P,

             Brumley Aff. at ¶¶ 1-2, Caekaert et al. v. WTNY, et al..

 5. At all times relevant WTNY and WTPA shared funds without any
    evidence of arms-length agreements between them and these funds were
    used by both to carry out their shared purpose.

         a. There were no agreements or terms between WTNY and WTPA

             regarding the shared use of facilities between the two or the bills

             associated with the use of said facilities, WTNY owned the premises

             and paid all the bills: “the directors from Pennsylvania and the

             directors from New York never got together to work out an

             agreement, oral or written in that regard. They have the same



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             purpose, the same function, and so there was never a need to do that.”

             Ex. K, 30(b)(6) WTPA Moreno Dep., 67:6-72:21.

         b. WTNY and WTPA used their funds to assist one another in achieving

             their common purpose and if WTNY was running a deficit WTPA

             would give it money. Ex. K, 30(b)(6) WTPA Moreno Dep., 39:17-

             41:2, 41:24-44:4, 47:22-48:18,56:24-62:13, 86:9-89:11.

         c. WTNY and WTPA’s financial statements and disclosures demonstrate

             that they were not functioning as separate and distinct entities. Ex. Q.

             Yonce Expert Rep. at 2.

 6. At all times relevant WTPA worked in concert with WTNY in the
    appointment of the Hardin Elders by sending out the circuit overseers
    who communicated the elder recommendations to WTNY.

         a. WTPA “sends out special ministers, such as circuit and district

             servants, to visit all the congregations of Jehovah’s Witnesses

             throughout the world. These servants come under the direction of

             branch servants who are appointed by the president of the Watch

             Tower Bible and Tract Society of Pennsylvania.” Ex. A, 1970

             Yearbook of Jehovah’s Witnesses at 37-41.

         b. The Overseers sent out by WTPA would receive a stipend from

             WTNY. Ex. K, 30(b)(6) WTPA Moreno Dep., 40:5-41:2.




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         c. The Circuit Overseers sent by WTPA and paid for by WTNY met

             with the local congregations and filled out a form identifying

             recommendations for elders and sent the form to the “branch” for

             review and approval. Ex. R, Lovett Dep., 56:2–57:25; Ex. S, Meyers

             Dep., 73:21-74:24.

         d. After the Governing Body reviewed and approved the

             recommendation WTNY communicated such approval back to the

             local congregation. See e.g. Ex. T, Hardin Congregation

             Appointments.

 7. At all times relevant to this case WTNY and WTPA worked in concert
    with each other to train and instruct the Hardin Elders on how to
    handle matters of serious sin, including child sex abuse.

         a. Local congregation elders are responsible for responding to and

             investigating reports of serious sin within their congregation and are

             required to follow the Organization’s policies when doing so. Ex. U,

             Steele Aff., ¶¶ 8, 10, 11, Doe v. Watchtower et al.; Ex. V, Ashe Dep.

             Vol. I, 190:25–192:18, Lopez; Ex. W, Ashe Dep. Vol. II, 320:8–

             322:14, Lopez; Ex. X 1949 Counsel on Theocratic Organization for

             Jehovah’s Witnesses, 57–58; Ex. Y, 1972 Kingdom Ministry School

             Course, 72–74, 84–86,114–17, 123–26, 131–35; Ex. Z, 1977 Pay

             Attention to Yourselves and to All the Flock, 55–77; Ex. AA, 1981


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             Pay Attention to Yourselves and to All the Flock, 160–82; Ex. BB,

             1991 Pay Attention to Yourselves and to All the Flock, 90–142; Ex.

             CC, July 1, 1989 All Bodies of Elders Ltr.; Ex. DD, 1983 Organized

             to Accomplish Our Ministry, 138–53; Ex. B, WTPA 30(b)(6) Devine

             Dep., 97:10–99:16, 121:25–122:23, 126:4–128:2, 130:3–131:8; Ex.

             EE, WTNY 30(b)(6) Jefferson Dep., 100:2–103:9, 124:6–125:2; Ex.

             FF, WTNY 30(b)(6) Moreno Dep., 15:14–18; Ex. A, 1970 Yearbook

             of Jehovah’s Witnesses at 38-39.

         b. WTNY and WTPA worked in concert to publish and distribute printed

             material instructing the Hardin Elders on how to respond to reports of

             serious sin, including child sex abuse. WTPA was often the copyright

             holder of such material and WTNY would be the publisher. However,

             in other instances, WTNY would hold the copyright and publish the

             material. Ex. GG, Summary of Relevant Publications; see also ECF

             No. 341-31(documents supporting Summary of Relevant

             Publications).

         c. The Hardin Elders learned how to perform their duties from the

             publications, schools, and instruction provided by WTNY and WTPA.

             Ex. R, Lovett Dep., 61:25–62:16, 64:12–65:8, 66:25–67:6, 70:22–

             71:9, 79:22–80:25; Ex. HH, Hardin 30(b)(6) Dep., 61:15–64:4, 67:17–


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             25; Ex. II, Hiebert Dep., 42:3–11, 43:1–7 ; Ex. R, Meyers Dep., 45:3–

             47:17, 130:11–19 ; Ex. JJ, James Rowland Dep., 66:16–67:7, 69:14–

             21.

         d. The Governing Body, WTPA, and WTNY were all working in concert

             to organize and hold training sessions, a.k.a. Kingdom Ministry

             School, to teach local elders how to do their jobs. Ex. A, 1970

             Yearbook of JWs, 40; Ex. E, 1977 Branch Organization, 23-1 ¶¶ 1–3;

             Ex. K, WTPA 30(b)(6) Moreno Dep., 42:20–22; Ex. EE, WTNY

             30(b)(6) Jefferson Dep., 110:5–111:2, 216:25–218:3; Ex. FF, WTNY

             30(b)(6) Moreno Dep., 15:19–23.

         e. WTNY, acting through the Service and Legal Departments answered

             questions that local elders had regarding implementation of the

             Organization’s policies, including question on how to handle reports

             of child sex abuse. Ord. at 38, ECF No. 318; Br. at 1, 5-6, 9, ECF No.

             204 (citing Moreno Aff., ¶¶ 5-6, 8-9, ECF No. 204-1).

 8. The Jehovah’s Witnesses’ entities in New York were collectively and
    without distinction referred to as the “Society.”

         a. The Jehovah’s Witnesses’ own Circuit Overseer acknowledged that

             the Organization’s publications often simply referred to the “Society”

             without distinguishing between corporate entities. Ex. R, Lovett Dep.

             62:17–63:23.
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         b. Jehovah’s Witnesses commonly referred to the Organization’s

             entities as the “Society.” Ex. B, WTPA 30(b)(6) Devine Dep.,

             108:25–109:13.


     DATED this 12th day of April, 2024.

                                      By: /s/ Ryan Shaffer
                                          Ryan R. Shaffer
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                                           Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

      Pursuant to Local Rule 1.4, this document has been served on all parties via

electronic service through the Court’s Case Management/Electronic Case Filing

(CM/ECF) system.

                                       By: /s/ Ryan Shaffer
                                           Ryan R. Shaffer
                                           MEYER, SHAFFER & STEPANS PLLP

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